        Case 1:23-cv-04929-JPB Document 86 Filed 05/08/24 Page 1 of 5




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

INTERNATIONAL ALLIANCE OF
THEATER STAGE EMPLOYEES
LOCAL 927,

                Plaintiff,

               v.                              Civil Action No.:
                                               1:23-CV-04929-JPB
JOHN FERVIER, in his official
capacity as member of the Georgia
State Election Board, et al.,

                Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                    Intervenor-Defendants.


     STATE DEFENDANTS’ MOTION FOR EXTENSION OF TIME
         TO FILE RESPONSE TO PLAINTIFF’S MOTION
               FOR PRELIMINARY INJUNCTION

      State Defendants respectfully submit this motion for an extension of

time to file their response to Plaintiffs’ motion for preliminary injunction.

[Doc. 83]. State Defendants’ response to that motion is currently due by May

14, 2024. For the reasons set forth below, State Defendants request that the

Court extend that deadline to June 21, 2024. Before filing this motion, the

parties conferred, and Plaintiff’s counsel stated that Plaintiff opposes the relief

requested in this motion.
          Case 1:23-cv-04929-JPB Document 86 Filed 05/08/24 Page 2 of 5




         There is good cause to grant the requested relief. Plaintiff filed its

complaint more than six months ago, on October 26, 2023. [Doc. 1]. After State

Defendants filed a motion to dismiss, which explained that the complaint

should be dismissed for lack of standing and the lack of a private right of action,

[Doc. 46], Plaintiff responded by filing an amended complaint, [Doc. 62].

Thereafter, State Defendants filed a motion to dismiss the amended complaint,

as the amended complaint did not cure any of the deficiencies of Plaintiff’s

initial complaint. [Doc. 68]. Briefing on that motion to dismiss was completed

approximately two months ago. [Doc. 76].

         After waiting for months, Plaintiff filed a motion for preliminary

injunction on April 30, 2024. [Doc. 83]. This delay causes State Defendants

substantial prejudice, and it necessitates an extension of their response

deadline.

         As the Court is no doubt aware, State Defendants are involved in several

other civil actions related to various portions of Senate Bill 202 (SB 202). In

the consolidated action, In re SB 202, No. 1:21-MI-55555-JPB, State

Defendants are substantially occupied completing seven replies in support of

summary judgment, which are also due on May 14, 2024. Those will span

hundreds of pages, and State Defendants must also respond on May 14 to

nearly 1,000 statements of fact that the plaintiffs in the consolidated action

filed.    That requires an immense amount of time, and it precludes State


                                         2
        Case 1:23-cv-04929-JPB Document 86 Filed 05/08/24 Page 3 of 5




Defendants from also devoting sufficient time to the preliminary-injunction

response in this case.

      Once those replies are filed, State Defendants must turn their attention

to compiling the extensive findings of fact and conclusions of law due on May

31, 2024, in another SB 202 case—Voter Participation Center v. Raffensperger,

No. 1:21-cv-1390-JPB. That will also require a substantial amount of time, as

will preparing the responses to Plaintiffs’ findings of fact and conclusions of

law that are due by June 10, 2024. And State Defendants must also prepare

for a motion hearing on May 28, 2024, in the related matter Coalition for Good

Governance v. Raffensperger, No. 1:21-cv-2070-JPB. Additionally, counsel for

State Defendants will be in trial in another matter for the final week of May.

Moreover, State Defendants have substantial responsibilities related to the

upcoming May 21, 2024, General Primary Election.

      In light of the foregoing, State Defendants are not realistically able to

turn their attention to the opposition in this case until early June. Accordingly,

additional time is necessary for State Defendants to be able to provide the

Court with a thorough explanation of the reasons why it should not

preliminarily enjoin the duly enacted statute at issue here.

      State Defendants understand that Plaintiff opposes this request based

on its interest in obtaining relief in advance of the November election.

However, the weight to be afforded to that interest is substantially decreased


                                        3
        Case 1:23-cv-04929-JPB Document 86 Filed 05/08/24 Page 4 of 5




by Plaintiff’s multi-month delay in filing a motion for preliminary injunction.

Indeed, Plaintiff relies in part [Doc. 83-8] on a statement from State

Defendants’ counsel that it is not possible to “identify in the abstract a date by

which it would become infeasible to implement an order in this case.” Thus,

Plaintiff suggests, immediate relief is needed, and an extension of the briefing

schedule is not feasible. But that correspondence was sent on January 16,

2024, and Plaintiff waited more than three months to file its motion for a

preliminary injunction.

      Accordingly, because Plaintiff’s delay inserted briefing on the motion for

preliminary injunction into the middle of many deadlines in the other cases

involving SB 202, additional time is necessary, and State Defendants request

that the Court enter the accompanying proposed order.

      Respectfully submitted this 8th day of May, 2024.

                                     Christopher M. Carr
                                     Attorney General
                                     Georgia Bar No. 112505
                                     Bryan K. Webb
                                     Deputy Attorney General
                                     Georgia Bar No. 743580
                                     Russell D. Willard
                                     Senior Assistant Attorney General
                                     Georgia Bar No. 760280
                                     State Law Department
                                     40 Capitol Square, S.W.
                                     Atlanta, Georgia 30334




                                        4
Case 1:23-cv-04929-JPB Document 86 Filed 05/08/24 Page 5 of 5




                           /s/ Gene C. Schaerr
                           Gene C. Schaerr*
                           Special Assistant Attorney General
                           Brian J. Field*
                           Miranda Cherkas Sherrill
                           Georgia Bar No. 327642
                           SCHAERR | JAFFE LLP
                           1717 K Street NW, Suite 900
                           Washington, DC 20006
                           (202) 787-1060
                           gschaerr@schaerr-jaffe.com
                           *Admitted pro hac vice

                           Bryan P. Tyson
                           Special Assistant Attorney General
                           Georgia Bar No. 515411
                           btyson@taylorenglish.com
                           Bryan F. Jacoutot
                           Georgia Bar No. 668272
                           bjacoutot@taylorenglish.com
                           Diane Festin LaRoss
                           Georgia Bar No. 430830
                           dlaross@taylorenglish.com
                           Taylor English Duma LLP
                           1600 Parkwood Circle
                           Suite 200
                           Atlanta, Georgia 30339
                           (678) 336-7249

                           Counsel for State Defendants




                             5
